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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1010V
                                          UNPUBLISHED


    BANGALORE MUNIRAJU,                                         Chief Special Master Corcoran

                         Petitioner,                            Filed: August 28, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Tetanus
    HUMAN SERVICES,                                             Diphtheria acellular Pertussis (Tdap)
                                                                Vaccine; Influneza (Flu) Vaccine;
                         Respondent.                            Guillain-Barre Syndrome (GBS)


William E. Cochran, Jr., Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN , for
petitioner.

Alexis B. Babcock, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION ON JOINT STIPULATION 1

        On July 13, 2018, Bangalore Muniraju filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (GBS) as a
result of his September 27, 2017 influneza (“flu”) and Tetanus Diphtheria acellular
Pertussis (“Tdap”) vaccinations. Petition at 1; Stipulation, filed at August 26, 2020, ¶¶ 1,
2, 4. Petitioner further alleges that the vaccinations were administered within the United
States, that he suffered the residual effects of his injury for more than six months, and
that there has been no prior award or settlement of a civil action on his behalf as a result
of his injury. Stipulation at ¶¶ 3-5; see Petition at ¶¶2, 17. “Respondent denies that the
Tdap or flu vaccines caused petitioner to suffer from a Table injury of GBS, Chronic
Inflammatory Demyelinating Polyneuropathy (“CIDP”), or any other injury or his current
condition.” Stipulation at ¶ 6.

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Nevertheless, on August 26, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        a. A lump sum of $888,373.24, which amount represents compensation for
           first year life care expenses ($11,345.16), lost earnings ($725,760.08), pain
           and suffering ($150,000.00) and past unreimbursable expenses
           ($1,268.00) in the form of a check payable to Petitioner; and

        b. An amount sufficient to purchase the annuity contract described in
           paragraph 10 of the Stipulation, paid to the life insurance company from
           which the annuity will be purchased (the "Life Insurance Company").

        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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